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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                               )
                                                         )
                               Plaintiff,                )
                                                         )
                          v.                             )     No. 1:18-cr-00332-JPH-DML
                                                         )
 LEWIS EDWARD THURMAN,                                   ) -01
                                                         )
                               Defendant.                )

                                               ORDER

                                                   I.

        Defendant filed a pro se motion that the Court construed as a Motion for Compassionate

 Release pursuant to Section 603 of the First Step Act of 2018 (the “First Step Act”). Counsel has

 appeared on behalf of Defendant.

                                                   II.

        Pending counsel’s review and analysis of Defendant’s eligibility for compassionate release

 pursuant to the First Step Act of 2018, and to allow counsel to communicate with Defendant

 regarding the attorney-client relationship, this matter is stayed. Proceedings will resume, and the

 stay will be lifted, when counsel files an Amended Motion for Compassionate Release on

 Defendant’s behalf or adopts Defendant’s previously-filed Motion (by notifying the Court and

 filing a motion to lift the stay), a Stipulation to Reduction of Sentence is filed, or the Court grants

 counsel’s motion to withdraw from Defendant’s case. The Court notifies the parties that, if one of

 these events has not occurred by February 1, 2021, the Court will lift the stay and enter a briefing

 order. The Court will extend the stay only upon motion from Defendant's counsel that is supported

 by good cause.
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                                                III.

         Requests for compassionate release are governed by 18 U.S.C. § 3582(c)(1)(A)(i). That

 section prevents a court from modifying a sentence until "after the defendant has fully exhausted

 all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

 defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier." This Court has held that the exhaustion requirement is

 not jurisdictional and can be waived by the government but that the Court cannot waive it over the

 government's objection. See United States v. Cox, No. 4:18-cr-17-TWP-VTW-1, 2020 WL

 1923220, at *3 (S.D. Ind. Apr. 21, 2020); United States v. Jackson, No. 2:15-cr-00013-JMS-

 CMM-1, Dkt. 137 (S.D. Ind. Apr. 28, 2020). Accordingly, any Amended Motion for

 Compassionate Release or motion to lift stay and adoption of Defendant’s previously-filed Motion

 filed consistent with Part II of this Entry must be supported by evidence that Defendant has

 exhausted administrative remedies or that 30 days have passed since the Warden received

 Defendant's request for compassionate release (such as a document showing the warden's receipt

 of the request, a denial from the warden, or a declaration under penalty of perjury stating when

 Defendant made the request for compassionate release, the contents of the request, and how it was

 transmitted to the warden). Alternatively, Defendant's counsel may confer with the United States

 and submit a statement certifying that the United States agrees that Defendant has exhausted

 administrative remedies or that the United States will waive the exhaustion requirement in this

 case.

 SO ORDERED.

 Date: 11/6/2020




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 Distribution:

 All Electronically Registered Counsel




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